                 Case 16-24792-LMI          Doc 80      Filed 03/22/19      Page 1 of 5




                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

In re:      Noelia Esther Valdes                                 &DVH1R16-24792-LMI
                                                                 
            Noelia Esther Mesa                                   
Debtor(s)                                                        


                        127,&(2)TRUSTEE¶S FINAL REPORT AND
                          APPLICATIONS FOR COMPENSATION
                            AND DEADLINE TO OBJECT (NFR)

         Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that SONEET R.
KAPILA, CHAPTER 7 TRUSTEE, trustee of the above styled estate, has filed a Final Report and the
trustee and the trustee¶s professionals have filed final fee applications, which are summarized in the
attached Summary of Trustee¶s Final Report and Applications for Compensation.

        The complete Final Report and all applications for compensation are available for inspection at
the Office of the Clerk, at the following address:

         Clerk, U S Bankruptcy Court
         C. Clyde Atkins United States Courthouse
         301 North Miami Avenue, Room 150
         Miami, FL 33128
        Any person wishing to object to any fee application that has not already been approved or to the
Final Report, must file a written objection within 21 days from the mailing of this notice, together with a
request for a hearing and serve a copy of both upon the trustee, any party whose application is being
challenged and the United States Trustee. If no objections are filed, the Court will act on the fee
applications and the trustee may pay dividends pursuant to FRBP 3009 without further order of the Court.


Date Mailed: 03/22/2019                       By:    /s/ SONEET R. KAPILA, CHAPTER 7 TRUSTEE

SONEET R. KAPILA, CHAPTER 7 TRUSTEE
BANKRUPTCY TRUSTEE
P. O. BOX 14213
FORT LAUDERDALE, FL 33302
(954) 761-1011




UST Form 101-7-NFR (10/1/2010)
                                  Case 16-24792-LMI                     Doc 80          Filed 03/22/19                  Page 2 of 5




                                                 UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                          MIAMI DIVISION
In re:        Noelia Esther Valdes                                                                     &DVH1R16-24792-LMI
                                                                                                       
              Noelia Esther Mesa                                                                       
Debtor(s)                                                                                              


                                              SUMMARY OF TRUSTEE¶S FINAL REPORT
                                              AND APPLICATION FOR COMPENSATION

                      The Final Report shows receipts of                                                    $                   25,000.00

                      and approved disbursements of                                                         $                      831.54

                      OHDYLQJDEDODQFHRQKDQGRIï                                                        $                   24,168.46


                                                                         Balance on hand:                                                $     24,168.46

                        Claims of secured creditors will be paid as follows:
 Claim                                                                    Claim              Allowed Amount Interim Payments                 Proposed
 No.              Claimant                                               Asserted                of Claim         to Date                    Payment
 4                Real Time Resolutions, Inc.                               730,330.54                          0.00                  0.00          0.00

                                                                  Total to be paid to secured creditors:                                 $          0.00
                                                                  Remaining balance:                                                     $     24,168.46

                        Application for chapter 7 fees and administrative expenses have been filed as follows:
                                                                                                                         Interim Payments    Proposed
 Reason/Applicant                                                                             Total Requested                  to Date       Payment
 Trustee, Fees - SONEET R. KAPILA, CHAPTER 7 TRUSTEE                                                     3,250.00                     0.00      3,250.00
 Trustee, Expenses - SONEET R. KAPILA, CHAPTER 7                                                              52.64                   0.00         52.64
 TRUSTEE
 Attorney for Trustee, Fees - Stearns Weaver Miller, et al                                              12,435.00                     0.00     12,435.00
 Attorney for Trustee, Expenses - Stearns Weaver Miller, et al                                              901.29                    0.00        901.29
 Accountant for Trustee, Fees - KAPILAMUKAMAL, LLP                                                       1,728.00                     0.00      1,728.00

           ï The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
UHFHLYHDGGLWLRQDOFRPSHQVDWLRQQRWWRH[FHHGWKHPD[LPXPFRPSHQVDWLRQVHWIRUWKXQGHU86&DRQ
account of the disbursement of the additional interest.

 UST Form 101-7-NFR (10/1/2010)
                        Case 16-24792-LMI           Doc 80      Filed 03/22/19      Page 3 of 5
                Application for chapter 7 fees and administrative expenses have been filed as follows:
                                                                                         Interim Payments         Proposed
Reason/Applicant                                                    Total Requested            to Date            Payment
Accountant for Trustee, Expenses - KAPILAMUKAMAL, LLP                          21.48                 0.00               21.48

                            Total to be paid for chapter 7 administration expenses:                         $       18,388.41
                            Remaining balance:                                                              $        5,780.05


                Application for prior chapter fees and administrative expenses have been filed as follows:
                                                                                         Interim Payments         Proposed
Reason/Applicant                                                    Total Requested            to Date            Payment
                                                          NONE

                         Total to be paid for prior chapter administration expenses:                        $            0.00
                         Remaining balance:                                                                 $        5,780.05


                In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $2,466.94 must be paid in advance of any dividend to
        general (unsecured) creditors.

                Allowed priority claims are:
Claim                                                              Allowed Amount Interim Payments                Proposed
No.         Claimant                                                   of Claim         to Date                   Payment
5           Miami-Dade county, Florida                                           0.00                 0.00               0.00
6           INTERNAL REVENUE SERVICE                                        2,466.94                  0.00           2,466.94

                                                 Total to be paid for priority claims:                      $        2,466.94
                                                 Remaining balance:                                         $        3,313.11


                 The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

                 Timely claims of general (unsecured) creditors totaling $164,216.55 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 2.0 percent,
        plus interest (if applicable).

                Timely allowed general (unsecured) claims are as follows:
Claim                                                              Allowed Amount Interim Payments                Proposed
No.         Claimant                                                   of Claim         to Date                   Payment
1           PYOD, LLC its successors and assigns as assignee                  644.32                 0.00               13.00

UST Form 101-7-NFR (10/1/2010)
                        Case 16-24792-LMI          Doc 80      Filed 03/22/19       Page 4 of 5
                Timely allowed general (unsecured) claims are as follows:
Claim                                                              Allowed Amount Interim Payments             Proposed
No.         Claimant                                                   of Claim         to Date                Payment
2           Damayuris Ortega                                               132,216.00                0.00         2,667.49
3           Verizon                                                              0.00                0.00             0.00
6           INTERNAL REVENUE SERVICE                                        30,875.54                0.00           622.92
7           American Express Bank FSB                                            0.00                0.00             0.00
8           American Express Bank FSB                                            0.00                0.00             0.00
9           American Express Bank FSB                                            0.00                0.00             0.00
10          American Express Bank FSB                                            0.00                0.00             0.00
11          Portfolio Recovery Associates, LLC                                480.69                 0.00             9.70
12          PYOD, LLC its successors and assigns as assignee                     0.00                0.00             0.00

                               Total to be paid for timely general unsecured claims:                     $        3,313.11
                               Remaining balance:                                                        $            0.00


                 Tardily filed claims of general (unsecured) creditors totaling $0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        JHQHUDOXQVHFXUHGFODLPVKDYHEHHQSDLGLQIXOO7KHWDUGLO\ILOHGFODLPVGLYLGHQGLVDQWLFLSDWHG
        to be 0.0 percent, plus interest (if applicable).


                Tardily filed general (unsecured) claims are as follows:
Claim                                                              Allowed Amount Interim Payments             Proposed
No.         Claimant                                                   of Claim         to Date                Payment
                                                          NONE

                               Total to be paid for tardy general unsecured claims:                      $            0.00
                               Remaining balance:                                                        $            0.00


                  Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        RUGHUHGVXERUGLQDWHGE\WKH&RXUWWRWDOLQJ16,499.75 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        LQIXOO7KHGLYLGHQGIRUVXERUGLQDWHGXQVHFXUHGFODLPVLVDQWLFLSDWHGWREH0.0 percent,
        plus interest (if applicable).

              Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
      ordered subordinated by the Court are as follows:
Claim                                                          Allowed Amount Interim Payments                 Proposed
No.       Claimant                                                  of Claim             to Date               Payment
6           INTERNAL REVENUE SERVICE                                        16,499.75                0.00             0.00


UST Form 101-7-NFR (10/1/2010)
                      Case 16-24792-LMI          Doc 80      Filed 03/22/19      Page 5 of 5

                                         Total to be paid for subordinated claims:                   $              0.00
                                         Remaining balance:                                          $              0.00




                                                      Prepared By: /s/ SONEET R. KAPILA, CHAPTER 7 TRUSTEE
                                                                                     Trustee
      SONEET R. KAPILA, CHAPTER 7 TRUSTEE
      BANKRUPTCY TRUSTEE
      P. O. BOX 14213
      FORT LAUDERDALE, FL 33302
      (954) 761-1011


      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      H[HPSWLRQ&)5DDSSOLHV




UST Form 101-7-NFR (10/1/2010)
